          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR43


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
ROBERT BLAKE KELLER                      )
                                         )


     THIS MATTER is before the Court on Defendant’s pro se motion for

return of property pursuant to Fed. R. Crim. P. 41(g), filed May 18, 2009,

and the Government’s response thereto filed June 1, 2009.

     The Defendant alleges that on four occasions during 2005, various

state law enforcement officers executed search warrants and traffic stops

during which a computer tower, contraband, camera equipment, and over

$7,000 in U.S. currency was seized from him by the State of North

Carolina. Motion, at 1-2. According to the Defendant, the state charges

that resulted from these seizures were eventually dismissed. Id.

Defendant also argues that real property, i.e., his place of business located

at 504 West Main Street, Glen Alpine, North Carolina, seized in this




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criminal action is no longer needed by the Government since there is no

appeal pending and the property is not “subject to civil forfeiture.” Id. at 2.

He asks the Court to order the Government to return the computer tower

and currency to him and to enjoin the sale of the real property located in

Glen Alpine. Id. at 3.

      On June 5, 2006, the Defendant and four co-defendants were

charged with conspiracy to manufacture and possess with intent to

distribute methamphetamine in violation of 21 U.S.C. §§ 841(a)(1) and 846.

Bill of Indictment, filed June 5, 2006. Thereafter, the Defendant entered

into a plea agreement with the Government wherein he agreed to plead

guilty to the charge contained in the indictment. See Amended Plea

Agreement, filed September 15, 2006, at 1. The Defendant also

stipulated in the Plea Agreement that he owned and agreed to forfeit to the

United States the real property located at 504 West Main Street in Glen

Alpine, North Carolina, along with all the assets of his automobile business

known as Keller Motor Company, and his interest in real property located

at 109 Keller Avenue in Morganton, North Carolina. Id. at 2. After

Defendant formally entered his guilty plea on September 15, 2006, the

Government moved for a preliminary order of forfeiture of these properties;



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the motion was granted and an order entered on October 27, 2006.

Preliminary Order of Forfeiture, filed October 27, 2006, at 2-3. The

Defendant was sentenced on June 25, 2007, to 120 month prison term.

Judgment in a Criminal Case, filed July 3, 2007. On August 29, 2007,

the Government moved for entry of a final order of forfeiture only as to the

Glen Alpine, North Carolina, real property; the motion was granted

September 24, 2007, and the final order entered. Final Order of

Forfeiture, filed September 24, 2007. Defendant did not file a direct

appeal.1

      There is no evidence before the Court that the United States has

ever had in its custody any currency or other personal property belonging

to the Defendant, nor does the Defendant bring forth any evidence that the

items and currency seized by state law enforcement officers were turned

over to the federal government when the state charges were dismissed

and this indictment pursued. In its response to Defendant’s motion for the


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       On July 2, 2008, Defendant filed a motion to vacate, set aside, or
correct sentence pursuant to 28 U.S.C. § 2255 alleging therein that his trial
attorney was ineffective for failing to file a direct appeal on his behalf. The
Court granted the Defendant’s motion in part by vacating his sentence,
reinstating the same sentence, and entering notice of appeal for the
Defendant. See Memorandum and Order and Judgment, filed July 10,
2008. His appeal is presently pending before the Fourth Circuit.


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return of this property, the Government requests 45 days to investigate the

status of those assets, unless the Court determines to dismiss Defendant’s

motion outright. Government’s Response, at 5. The Court finds that in

order to bring this issue to finality, the Government should conduct an

investigation to determine whether or not these personal items are in fact

in its possession.

      However, the record is clear that pursuant to the terms of his plea

agreement, the Defendant agreed to forfeit his ownership in the real

property he now asks the Court to enjoin from sale. The Final Order of

Forfeiture was filed almost two years ago; therefore, Defendant’s

objections to such forfeiture are not only untimely, but without merit.

Accordingly, Defendant’s motions for return of the real property and an

injunction preventing the sale of the real property are denied.

      IT IS, THEREFORE, ORDERED that Defendant’s motion for return of

real property is DENIED.

      IT IS FURTHER ORDERED that Defendant’s motion for an order

enjoining the sale of the real property is DENIED.




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     IT IS FURTHER ORDERED that the Government file response within

45 days from the entry of this Order regarding the status of the remaining

assets referenced herein.

                                     Signed: June 12, 2009




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